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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-161 RBW
v.
: VIOLATIONS:
DUSTIN BYRON THOMPSON and : 18 U.S.C. §§ 1512(c)(2), and 2
ROBERT ANTHONY LYON, : (Obstruction of an Official Proceeding and
: Aiding and Abetting)
Defendants. : 18 U.S.C. §§ 641, and 2

(Theft of Government Property and Aiding
and Abetting)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in a
Capitol Building)

INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, DUSTIN
BYRON THOMPSON and ROBERT ANTHONY LYON attempted to, and did, corruptly obstruct,
influence, and impede an official proceeding, that is, a proceeding before Congress, specifically,
Congress’s certification of the Electoral College vote as set out in the Twelfth Amendment of the
Constitution of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title 18,
United States Code, Sections 1512(c)(2) and 2)
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COUNT TWO
On or about January 6, 2021, within the District of Columbia, DUSTIN BYRON
THOMPSON and ROBERT ANTHONY LYON did each embezzle, steal, purloin, knowingly
convert to his use and the use of another, and without authority, sold, conveyed and disposed of any
record, voucher, money and thing of value of the United States and any department and agency thereof,
that is, a coat tree, which has a value of less than $1000.

(Theft of Government Property and Aiding and Abetting, in violation of Title 18, United
States Code, Sections 641 and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, DUSTIN BYRON
THOMPSON and ROBERT ANTHONY LYON did knowingly enter and remain in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United
States Capitol and its grounds, where the Vice President was temporarily visiting, without lawful
authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, DUSTIN BYRON
THOMPSON and ROBERT ANTHONY LYON did knowingly, and with intent to impede and
disrupt the orderly conduct of Government business and official functions, engage in disorderly and
disruptive conduct in and within such proximity to, a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its grounds,
where the Vice President was temporarily visiting, when and so that such conduct did in fact impede
and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(2))
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COUNT FIVE
On or about January 6, 2021, within the District of Columbia, DUSTIN BYRON
THOMPSON and ROBERT ANTHONY LYON willfully and knowingly engaged in disorderly and
disruptive conduct within the United States Capitol Grounds and in any of the Capitol Buildings with
the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House
of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, DUSTIN BYRON
THOMPSON and ROBERT ANTHONY LYON willfully and knowingly paraded, demonstrated,
and picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

de
‘ea: Bove
Attorney of the United States in
and for the District of Columbia.
